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SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, AND DANIEL A. SMITH,                                       :
JEFFREY GOLDHAGEN, TERESA J. REID,                                   :
and KENNETH B. NUNN,                                                 :   1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and behalf of the University of Florida, W. KENT :
FUCHS, in his official capacity as President of the :
University of Florida, JOSEPH GLOVER, in his :
official capacity as Provost of the University of :
Florida, and LAURA ROSENBURY, in her                                 :
official capacity as Dean of the Fredric G. Levin :
College of Law,                                                      :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




I, Jeffrey Goldhagen, hereby declare and state as follows:

        1.      I am a Professor of Pediatrics and the Chief of the Division of

Community and Societal Pediatrics at the University of Florida College of

Medicine – Jacksonville (the “Medical School”). I have been a member of
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the University of Florida’s (the “University”) faculty since 1993. I have

personal knowledge of the matters set forth herein.

      2.      My practice focuses on community-based pediatrics and public

health services. I currently serve as the Medical Director for the Partnership

for Child Health and the President of the International Society for Social

Pediatrics and Child Health.        In addition, I am a co-founder of the

Population Health Consortium of Northeast Florida, a group formed in 2020

to help coordinate a public health response to the COVID-19 pandemic. I

have also served as an expert witness in litigation relating to lead poisoning

of children. Previously, I served as the Director of the Duval County Health

Department and the Medical Director of Cleveland, Ohio’s Department of

Public Health.

      3.     I view it as a key part of my role as a physician to help advocate

for measures that will serve public health interests locally, nationally, and

internationally.   In the past, the Medical School has encouraged and

supported my work in these areas.

      4.     On or around August 11, 2021 I was asked by Charles

Gallagher of Gallagher & Associates Law Firm, P.A. to serve as an expert

witness in a lawsuit seeking to enjoin Governor DeSantis’s Executive Order

Number 21-185 (the “Executive Order”), which precludes school districts



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from enacting mask mandates and threatens to withhold funds from any

school district choosing to require masks in schools. I was specifically

asked to testify about the impact of COVID-19 on the pediatric population

and the health benefits of requiring students to wear masks in schools to

prevent the spread of SARS-Cov-2. I believed it was my responsibility, and

in keeping with my oath as a physician, to serve as an advocate for such an

important public health measure to help stem the spread of SARS-Cov-2 and

protect children within the State of Florida. I did not hesitate to say yes.

      5.     I did not request compensation for my work in this case.

Instead, because this was a crucial matter of public health, I opted to donate

my time pro bono.

      6.     As I have done with previous expert witness assignments, I

planned to make clear that any written reports or testimony were submitted

in my personal capacity only, and that any viewpoints expressed did not

necessarily represent the view of the University.

      7.     In accordance with the University’s Conflicts of Interest and

Conflicts of Commitment Policy (the “Policy”), I submitted a UFOLIO

request disclosing my engagement as an expert witness in the Executive

Order case on or about August 11, 2021. The UFOLIO form did not have a

section where I could disclose whether I was receiving compensation; it



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simply asked whether the amount of compensation I would receive would be

greater or less than $5,000. Therefore, my UFOLIO application did not

disclose that I would not be receiving any compensation for my work.

        8.    The next day, I received a notification that Gary Wimsett had

marked my application “denied.” Ex. 11.1 The stated reason for the denial

was: “Outside activities that may pose a conflict of interest to the executive

branch of the State of Florida create a conflict for the University of Florida.”



        9.    After receiving the disapproval notice, I informed Mr.

Gallagher of the University’s disapproval.            Eager to participate in this

important case, I urged him to subpoena me for my testimony, since I

understood that, if he did so, I would be required to testify. The case,

however, moved too quickly, and I believe Mr. Gallagher instead sought

other expert witnesses who were not prevented from participating.

        10.   Because my initial request was denied, and I was not given an

opportunity to appeal the denial, I was not allowed to testify. This left me

unable to share my expertise, experience, and medical knowledge in a case

concerning one of the most critical public health matters of our time.



1
 “Ex. X” refers to the exhibits attached to the Declaration of Morgan A. Davis submitted
herewith.

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      11.    I am deeply troubled by the University’s Policy and how it has

been applied to prevent faculty from participating in litigation on crucial

matters of public health. I am aware of an additional colleague within the

Medical School who has had a similar experience requesting approval

through UFOLIO and who has received similarly worded disapproval

notices stating that they cannot participate in a particular case because it is a

“conflict” to testify on behalf of plaintiffs who have brought suit against the

State of Florida.

      12.    The Policy has effectively prevented my colleague and me from

fulfilling the oaths we took when we became physicians.             And this is

occurring at a time when public health—and accurate information about

public health—has never been more important. I worry about the potential

implications for the people of Florida if the University is able to exercise

such unlimited power over the speech of its faculty. I fear that this power

can easily be used to further political ends rather than the public interest, as

it was in my case.

      13.    In my view, the University’s attempt to remedy the issue

through the task force’s recommended amendments to the Policy does not

fix this problem.    The amendments simply confirm that the University




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